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                                        United States Bankruptcy Court
                                                   Western District of Michigan
                                                          One Division Ave., N.
                                                               Room 200
                                                         Grand Rapids, MI 49503

 IN RE: Debtor(s) (name(s) used by the debtor(s) in the last 8 years,
 including married, maiden, trade, and address):
                                                                                Case Number 09−08945
          Nancy Morgan
          208 E. Santee Hwy                                                     Chapter 7
          Charlotte, MI 48813
          SSN: xxx−xx−0680
                                                          Debtor(s)



                                               NOTICE OF FILING(S) DUE
A petition was filed in the above−referenced case on 7/28/09 . Please be advised that the following list of documents
have not been filed with the petition and must be filed in the immediate future. Schedules, Statements of Affairs, and
Chapter 13 plans are generally due 15 days from the date on which the petition was filed. See Bankruptcy Rules 1007
and 3015 for more information.

         Asset Protection Report due 08/12/2009

Local Rule 3015(b) directs that failure to file the required Chapter 13 schedules and statements required by FRBP
1007(b) or Plan required by FRBP 3015 within 15 days from the date of filing the petition (or any extension thereof)
will result in the case automatically being DISMISSED by the Court without further hearing.

Local Rule 5005−3 of this Court requires that certain documents be filed simultaneously with the petition
commencing a bankruptcy case. Pursuant to said Local Rule, if the defect is not corrected by the filing of the missing
papers within 20 days of service of the Notice of Filings Due, the case may be dismissed without further notice to the
debtor or any interested parties.



Dated: July 29, 2009

Address of the Bankruptcy Clerk's Office:                               Clerk of the Bankruptcy Court:
One Division Ave., N.                                                   DANIEL M. LAVILLE
Room 200
Grand Rapids, MI 49503
